        Case 2:15-cv-01045-RFB-BNW Document 818 Filed 08/03/21 Page 1 of 11



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 4
     Liaison Counsel for the Proposed Class
 5
     [Additional Counsel Listed on Signature Page]
 6

 7

 8
                                UNITED STATES DISTRICT COURT
 9
                                         DISTRICT OF NEVADA
10
      Cung Le, Nathan Quarry, Jon Fitch, Brandon        No.: 2:15-cv-01045-RFB-BNW
11    Vera, Luis Javier Vazquez, and Kyle
      Kingsbury, on behalf of themselves and all        PLAINTIFFS’ MOTION FOR LEAVE TO
12    others similarly situated,                        FILE SUPPLEMENTAL AUTHORITY
13                         Plaintiffs,

14           v.

15    Zuffa, LLC, d/b/a Ultimate Fighting
      Championship and UFC,
16
                           Defendant.
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                                                                            Case No.: 2:15-cv-01045-RFB-BNW
                            PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUPPL. AUTHORITY
          Case 2:15-cv-01045-RFB-BNW Document 818 Filed 08/03/21 Page 2 of 11




 1          Pursuant to Local Rule 7-2(g), Plaintiﬀs Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera,

 2   Luis Javier Vazquez, and Kyle Kingsbury (“Plaintiﬀs”) seek leave to file the supplemental authority

 3   attached hereto as Exhibit A.

 4          On April 8, 2021, Zuﬀa filed a motion seeking leave to file a notice of supplemental

 5   authority regarding the Ninth Circuit’s decision in Olean Wholesale Grocery Co-Op v. Bumble Bee

 6   Foods LLC, 9th Cir. No. 19-65614 (2021) (“Olean”). Def. Zuﬀa, LLC’s Mot. for Leave to File a

 7   Notice of Suppl. Authority (ECF No. 803) (“Motion”), at 2. At the status conference held on April

 8   9, 2021, this Court granted Zuﬀa’s Motion. ECF No. 814. On August 3, 2021, the Ninth Circuit

 9   granted rehearing en banc and vacated the panel opinion in Olean. See Exhibit A at 6.       e Ninth

10   Circuit’s order is attached hereto as Exhibit A.

11          DATED this 3rd day of August, 2021.

12                                                 Respectfully Submitted,
13
                                                   By:    /s/ Don Springmeyer
14                                                 Don Springmeyer (Nevada Bar No. 1021)
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22                                                 Joshua P. Davis (admitted pro hac vice)
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                                                                                   Case No.: 2:15-cv-01045-RFB-BNW
                            PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUPPL. AUTHORITY
     Case 2:15-cv-01045-RFB-BNW Document 818 Filed 08/03/21 Page 3 of 11




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                                          Additional Counsel for the Class
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                                                                    Case No.: 2:15-cv-01045-RFB-BNW
                  PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUPPL. AUTHORITY
         Case 2:15-cv-01045-RFB-BNW Document 818 Filed 08/03/21 Page 4 of 11




 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on this 3rd day of August 2021 a true and correct copy of

 3   PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY was

 4   served via the District Court of Nevada’s ECF system to all counsel of record who have enrolled in

 5   this ECF system.

 6

 7                                                By:   /s/ Pamela Montgomery
                                                    An employee of Kemp Jones, LLP
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                                                                                Case No.: 2:15-cv-01045-RFB-BNW
                           PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUPPL. AUTHORITY
Case 2:15-cv-01045-RFB-BNW Document 818 Filed 08/03/21 Page 5 of 11




                     EXHIBIT A
   Case 2:15-cv-01045-RFB-BNW Document 818 Filed 08/03/21 Page 6 of 11




                         FOR PUBLICATION                          FILED
                UNITED STATES COURT OF APPEALS                     AUG 3 2021
                                                              MOLLY C. DWYER, CLERK
                                                                U.S. COURT OF APPEALS
                      FOR THE NINTH CIRCUIT

OLEAN WHOLESALE GROCERY                  No.   19-56514
COOPERATIVE, INC., BEVERLY
YOUNGBLOOD, PACIFIC                      D.C. No.
GROSERVICE, INC., DBA Pitco Foods,       3:15-md-02670-JLS-MDD
CAPITOL HILL SUPERMARKET,                Southern District of California,
LOUISE ANN DAVIS MATTHEWS,               San Diego
JAMES WALNUM, COLIN MOORE,
JENNIFER A. NELSON, ELIZABETH            ORDER
DAVIS-BERG, LAURA CHILDS; NANCY
STILLER; BONNIE VANDERLAAN;
KRISTIN MILLICAN; TREPCO IMPORTS
AND DISTRIBUTION, LTD.;
JINKYOUNG MOON; COREY NORRIS;
CLARISSA SIMON; AMBER SARTORI;
NIGEL WARREN; AMY JOSEPH;
MICHAEL JUETTEN; CARLA LOWN;
TRUYEN TON-VUONG, AKA David Ton;
A-1 DINER; DWAYNE KENNEDY; RICK
MUSGRAVE; DUTCH VILLAGE
RESTAURANT; LISA BURR; LARRY
DEMONACO; MICHAEL BUFF; ELLEN
PINTO; ROBBY REED; BLAIR HYSNI;
DENNIS YELVINGTON; KATHY
DURAND GORE; THOMAS E.
WILLOUGHBY III; ROBERT FRAGOSO;
SAMUEL SEIDENBURG; JANELLE
ALBARELLO; MICHAEL COFFEY;
JASON WILSON; JADE CANTERBURY;
NAY ALIDAD; GALYNA
ANDRUSYSHYN; ROBERT BENJAMIN;
BARBARA BUENNING; DANIELLE
GREENBERG; SHERYL HALEY; LISA
HALL; TYA HUGHES; MARISSA
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JACOBUS; GABRIELLE KURDT; ERICA
PRUESS; SETH SALENGER; HAROLD
STAFFORD; CARL LESHER; SARAH
METIVIER SCHADT; GREG STEARNS;
KARREN FABIAN; MELISSA
BOWMAN; VIVEK DRAVID; JODY
COOPER; DANIELLE JOHNSON;
HERBERT H. KLIEGERMAN; BETH
MILLINER; LIZA MILLINER; JEFFREY
POTVIN; STEPHANIE GIPSON;
BARBARA LYBARGER; SCOTT A.
CALDWELL; RAMON RUIZ; THYME
CAFE & MARKET, INC.; HARVESTERS
ENTERPRISES, LLC; AFFILIATED
FOODS, INC.; PIGGLY WIGGLY
ALABAMA DISTRIBUTING CO., INC.;
ELIZABETH TWITCHELL; TINA
GRANT; JOHN TRENT; BRIAN LEVY;
LOUISE ADAMS; MARC BLUMSTEIN;
JESSICA BREITBACH; SALLY
CRNKOVICH; PAUL BERGER;
STERLING KING; EVELYN OLIVE;
BARBARA BLUMSTEIN; MARY
HUDSON; DIANA MEY; ASSOCIATED
GROCERS OF NEW ENGLAND, INC.;
NORTH CENTRAL DISTRIBUTORS,
LLC; CASHWA DISTRIBUTING CO. OF
KEARNEY, INC.; URM STORES, INC.;
WESTERN FAMILY FOODS, INC.;
ASSOCIATED FOOD STORES, INC.;
GIANT EAGLE, INC.; MCLANE
COMPANY, INC.; MEADOWBROOK
MEAT COMPANY, INC.; ASSOCIATED
GROCERS, INC.; BILO HOLDING, LLC;
WINNDIXIE STORES, INC.; JANEY
MACHIN; DEBRA L. DAMSKE; KEN
DUNLAP; BARBARA E. OLSON; JOHN
PEYCHAL; VIRGINIA RAKIPI; ADAM
BUEHRENS; CASEY CHRISTENSEN;


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   Case 2:15-cv-01045-RFB-BNW Document 818 Filed 08/03/21 Page 8 of 11




SCOTT DENNIS; BRIAN
DEPPERSCHMIDT; AMY E.
WATERMAN; CENTRAL GROCERS,
INC.; ASSOCIATED GROCERS OF
FLORIDA, INC.; BENJAMIN FOODS
LLC; ALBERTSONS COMPANIES LLC;
H.E. BUTT GROCERY COMPANY;
HYVEE, INC.; THE KROGER CO.;
LESGO PERSONAL CHEF LLC; KATHY
VANGEMERT; EDY YEE; SUNDE
DANIELS; CHRISTOPHER TODD;
PUBLIX SUPER MARKETS, INC.;
WAKEFERN FOOD CORP.; ROBERT
SKAFF; WEGMANS FOOD MARKETS,
INC.; JULIE WIESE; MEIJER
DISTRIBUTION, INC.; DANIEL
ZWIRLEIN; MEIJER, INC.; SUPERVALU
INC.; JOHN GROSS & COMPANY;
SUPER STORE INDUSTRIES; W LEE
FLOWERS & CO INC.; FAMILY
DOLLAR SERVICES, LLC; AMY
JACKSON; FAMILY DOLLAR STORES,
INC.; KATHERINE MCMAHON;
DOLLAR TREE DISTRIBUTION, INC.;
JONATHAN RIZZO; GREENBRIER
INTERNATIONAL, INC.; JOELYNA A.
SAN AGUSTIN; ALEX LEE, INC.;
REBECCA LEE SIMOENS; BIG Y
FOODS, INC.; DAVID TON; KVAT
FOOD STORES, INC., DBA Food City;
AFFILIATED FOODS MIDWEST
COOPERATIVE, INC.; MERCHANTS
DISTRIBUTORS, LLC; BROOKSHIRE
BROTHERS, INC.; SCHNUCK
MARKETS, INC.; BROOKSHIRE
GROCERY COMPANY; KMART
CORPORATION; CERTCO, INC.;
RUSHIN GOLD, LLC, DBA The Gold
Rush; UNIFIED GROCERS, INC.;


                                   3
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TARGET CORPORATION; SIMON-
HINDI, LLC; FAREWAY STORES, INC.;
MORAN FOODS, LLC, DBA Save-A-Lot;
WOODMAN'S FOOD MARKET, INC.;
DOLLAR GENERAL CORPORATION;
SAM'S EAST, INC.; DOLGENCORP, LLC;
SAM'S WEST, INC.; KRASDALE FOODS,
INC.; WALMART STORES EAST, LLC;
CVS PHARMACY, INC.; WALMART
STORES EAST, LP; BASHAS' INC.;
WAL-MART STORES TEXAS, LLC;
MARC GLASSMAN, INC.; WAL-MART
STORES, INC.; 99 CENTS ONLY
STORES; JESSICA BARTLING; AHOLD
U.S.A., INC.; GAY BIRNBAUM;
DELHAIZE AMERICA, LLC; SALLY
BREDBERG; ASSOCIATED
WHOLESALE GROCERS, INC.; KIM
CRAIG; MAQUOKETA CARE CENTER;
GLORIA EMERY; ERBERT &
GERBERT'S, INC.; ANA GABRIELA
FELIX GARCIA; JANET MACHEN;
JOHN FRICK; PAINTED PLATE
CATERING; KATHLEEN GARNER;
ROBERT ETTEN; ANDREW GORMAN;
GROUCHO'S DELI OF FIVE POINTS,
LLC; EDGARDO GUTIERREZ;
GROUCHO'S DELI OF RALEIGH;
ZENDA JOHNSTON; SANDEE'S
CATERING; STEVEN KRATKY;
CONFETTI'S ICE CREAM SHOPPE;
KATHY LINGNOFSKI; END PAYER
PLAINTIFFS; LAURA MONTOYA;
KIRSTEN PECK; JOHN PELS; VALERIE
PETERS; ELIZABETH PERRON; AUDRA
RICKMAN; ERICA C. RODRIGUEZ,

             Plaintiffs-Appellees,



                                     4
   Case 2:15-cv-01045-RFB-BNW Document 818 Filed 08/03/21 Page 10 of 11




and

JESSICA DECKER, JOSEPH A.
LANGSTON, SANDRA POWERS,
GRAND SUPERCENTER, INC., THE
CHEROKEE NATION, US FOODS, INC.,
SYSCO CORPORATION, GLADYS, LLC,
SPARTANNASH COMPANY, BRYAN
ANTHONY REO,

              Plaintiffs,
 v.

BUMBLE BEE FOODS LLC; TRI-UNION
SEAFOODS, LLC, DBA Chicken of the Sea
International, DBA Thai Union Group PCL,
DBA Thai Union North America, Inc.;
STARKIST CO.; DONGWON
INDUSTRIES CO., LTD.; THAI UNION
GROUP PCL,

              Defendants-Appellants,
and

KING OSCAR, INC.; THAI UNION
FROZEN PRODUCTS PCL; DEL MONTE
FOODS COMPANY; TRI MARINE
INTERNATIONAL, INC.; DONGWON
ENTERPRISES; DEL MONTE CORP.;
CHRISTOPHER D. LISCHEWSKI; LION
CAPITAL (AMERICAS), INC.; BIG
CATCH CAYMAN LP, AKA Lion/Big
Catch Cayman LP; FRANCIS T
ENTERPRISES; GLOWFISCH
HOSPITALITY; THAI UNION NORTH
AMERICA, INC.,

              Defendants.



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   Case 2:15-cv-01045-RFB-BNW Document 818 Filed 08/03/21 Page 11 of 11




THOMAS, Chief Judge:

      Upon the vote of a majority of nonrecused active judges, it is ordered that

this case be reheard en banc pursuant to Federal Rule of Appellate Procedure 35(a)

and Circuit Rule 35-3. The three-judge panel opinion is vacated.

      Judges McKeown, Wardlaw, Berzon, Owens, Miller, Collins, Bress, and

Forrest did not participate in the deliberations or vote in this case.




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